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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

FCCI INSURANCE COMPANY,                            §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §                   1:23-CV-1433-DII
                                                   §
EASY MIX CONCRETE SERVICES, LLC,                   §
                                                   §
               Defendant.                          §

                                              ORDER

       Before the Court is the report and recommendation of United States Magistrate Judge

Dustin Howell concerning Defendant Easy Mix Concrete Services, LLC’s (“Easy Mix”) Motion to

Dismiss, or in the Alternative Stay Certain Claims, (Dkt. 8). (R. & R., Dkt. 20). Plaintiff FCCI

Insurance Company (“FCCI”) timely filed objections to the report and recommendation, (Objs.,

Dkt. 23); Easy Mix responded to FCCI’s objections, (Dkt. 26); and FCCI replied, (Dkt. 27).

       A party may serve and file specific, written objections to a magistrate judge’s findings and

recommendations within fourteen days after being served with a copy of the report and

recommendation and, in doing so, secure de novo review by the district court. 28 U.S.C.

§ 636(b)(1)(C). Because FCCI timely objected to the report and recommendation, the Court reviews

the report and recommendation de novo. Having done so and for the reasons given in the report and

recommendation, the Court overrules FCCI’s objections and adopts the report and recommendation

as its own order.

       Accordingly, the Court ORDERS that the report and recommendation of United States

Magistrate Judge Dustin Howell, (Dkt. 20), is ADOPTED.

       IT IS FURTHER ORDERED that Easy Mix’s Motion to Dismiss, or in the Alternative

Stay Certain Claims, (Dkt. 8), is GRANTED IN PART as to the motion to stay.


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        IT IS FURTHER ORDERED that FCCI’s claims for declaratory relief relating to (1) its

duty to indemnify the Underlying Lawsuits 1 and (2) its duty to defend currently non-existent lawsuits

are STAYED until ripe.

        IT IS FURTHER ORDERED that the parties shall submit quarterly joint status reports

to apprise the Court of the status of the Underlying Lawsuits, with the first status report due on or

before September 25, 2024.

        SIGNED on June 25, 2024.




                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE




1 The Underlying Lawsuits are currently pending in Burnet, Gillespie, Hays, Travis, and Williamson Counties,

Texas, as well as in this Court.

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